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Exhibit L

Hardhi Karnati Achievements
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SU

REPORT

K-PREP Student Scores

 

This report provides specific information about your luderts
d performance on the K-PREP test. It also includes
ee aire ace EOE a een about how to support student learning. The K-PREP test is only one
ow well students do in each subject tested; therefore, it is also import:
are doing on class work, special projects and assessments. Pee ee aa

 

Students taking the K-PREP test are assessed on the Kentuck i i

uc ; : ; y Academic Standards. These standards in reading,
writing, Pee and science are rigorous and focus on college and career readiness. Rigorous standards, js
across all grade levels, help students prepare for what they plan to do after high school. For the future, Kentucky
continues to work toward implementation and assessment of new standards for social studies.

    

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Student’s Scores and Performance Levels
The chart below shows the student's overall performance In readin,
i ig and mathematics. The performance levels of Novice and Apprentice are-broken into tw
ae ae a for reading and mathematics. The first bar for each subject shows the student's score printed above the bar with the performance va tee the
ne ae ae signified by the height of the bar. The second bar for each subject shows the school average score printed above the bar. The third bar for each subject
shows the district average score printed above the bar. Finally, the fourth bar for each subject shows the state average score printed above the bar.

Performance Score PROFICIENT in Score PROFICIENT in

 

Levels Range Reading Range Mathematics
300
234
a 233
PROFICIENT
210 210

209

198
197

  
  

  
    
     
          

NOVICE

100

   

Student School District State Student School District State
Mean Mean Mean Mean Mean Mean

  

About the Student's Performance Levels. ie. eee

Reading Performance Level: PROFICIENT
A Proficient student is able to ask and answer questions to demonstrate understanding of a text,
referring explicitly to the text as the basis for the answers; determine main idea and theme;
recognize that a character's traits, motivations or feelings influence events in a story; sequence
events with minimal context clues; determine author's point of view and distinguish personal

opinion from the author's point of view.

 
  
 
  
 
 
 

 

  
 
 
  

Mathematics Performance Level: PROFICIENT
A student scoring Proficient can represent and solve problems involving the four operations;
multiply and divide within 100; show the relationship between multiplication and division within |
400; identify an equation to solve problems Including those with an unknown; use area models
to represent the distributive property; relate area to multiplication and addition; solve problems |
involving Intervals of time to the nearest minute; generate data by measuring lengths using 2

rulers marked With halves and fourths of an inch and graph the data using a line plot; and yl
interpret graphs Including line plots, scaled picture graphs and bar graphs.

  

  

   
   
    
      
     
     

 
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Jefferson County Public Schools

Elementary

| Jefferson County Public Schools (JCPS) provides every student, without exce

both the opportunity and the necessary support to benefit from a high-q\
educational experence.

The purpose of the Elementary Report Card is to share your child's successes a
to alert you to any area of concem.

 

Report Card Performance (movement toward meeting grade-level expectations)

 

 

School Year: 2019 - 2020

| Process (demonstrated work habits/earning behaviors)

 

 

 

 

 

Student's Name Student's ID Number Grade School
Hardhi Kamat (PSSEEZSBH)° 04 Brandeis Eiemerttary;
Teacher's Name School Phone Number Principal's Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Assignment for Next School Year:

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Performance Codes Performance
Used for Reading, Writin Science,
Mathematics, and Social Studies ist 2nd 3rd 4th
in grades four and five Reading B
A Above Standards Writing A
B Meets Standards Sclence A
C Approaching Standards Mathematics A
D Below Standards Social Studies A
U_ Substantially Below
Standards Practical Living
Used for all subjects in P1,P2, Ppa _| | Physical Education
and P4 and for Practical Living, Arts and Humanities
Arts and Humanities, and Related Visual Art S
Arts Classes in grades four and five *AUeia 5
O Outstanding;work is consistently Oth
above grade-level er
expectations/standards ES WL SPANISH s
S  Satisfactory;work meets grade-level | |-
expectations/standards 2
NI Needs Improvement;improvement
is needed to meet grade-level 2
expectations/standards
satisfactory;work does not meet || _
Wh crablevel expectations/standards
| N/A Not Applicable - not taught in this Attendance Tet 2nd 3rd 4th
grading period Days Present 42.00
Days Absent 00,00
Days Tardy/Early Release 1
= ()
P1 = kindergarten (00) Re ue oa i Attendance Ie shown ae of 2010-10-30
pa=gradeone(0l) P4= ar

 
Certificate
MAAS FE AS

WORLD TRADITIONAL MARTIAL ARTS UNION

NO. 01-308689
NAME: Hardhi Karnati

ist DAN BLACK BELT
THIS IS TO CERTIFY THAT THE ABOVE NAMED STUDENT HAS
ATTAINED BY SUCCESSFULLY COMPLETING THE REQUIREMENTS
ACCORDING TO THE RULESAND/REGULATIONS OF THE WORLD
TRADITIONAL MARTIAL*ARTS UNION*PROMOTION TEST OF
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